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No. 25-1585

ATLAS DATA PRIVACY CORPORATION, etal. ys. THE ALESCO GROUP, L.L.C.

ENTRY OF APPEARANCE

Please list the names of all parties represented, using additional sheet(s) if necessary:

THE ALESCO GROUP, L.L.C.

Indicate the party’s role IN THIS COURT (check only one):

Petitioner(s) v Appellant(s) Intervenor(s)

Respondent(s) Appellee(s) Amicus Curiae

(Type or Print) Counsel’s Name Kory Ann Ferro

{| Mr |W] Ms. |_| Mrs. |_| Miss [| Mx.

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Additional E-Mail Address (2)
Additional E-Mail Address (3)

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SIGNATURE OF COUNSEL: /S/ Kory Ann Ferro

COUNSEL WHO FAIL TO FILE AN ENTRY OF APPEARANCE WILL NOT BE ENTITLED TO RECEIVE
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ATTORNEYS WHO ARE MEMBERS OF THIS COURT’S BAR OR WHO HAVE SUBMITTED A
PROPERLY COMPLETED APPLICATION FOR ADMISSION MAY FILE AN APPEARANCE FORM.

A non-government attorney who is not currently in active status will be required to file the Attorney

Admission Renewal /Adjustment of Status Form in order to proceed with the case. Bar admission is
waived for Federal and Virgin Island government attorneys.

REY. 10/20/2020
